      23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                          Pg 1 of 24
EXHIBIT 4 - SCHEDULES (DKT. 14)



                              IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                          EL PASO DIVISION


          IN RE:                                         §
                                                         §                Case No. 21-30107
          PDG PRESTIGE, INC.                             §                     (Chapter 11)
                                                         §
                   Debtor.                               §
                                                         §

                        SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS


               I declare under penalty of perjury that I have read the following summary of schedules,
        schedules, and statement of financial affairs, and that they are true and correct to the best of my
        knowledge, information, and belief.


                                                          PDG Prestige, Inc.



                                                          /s/ Michael Dixson
                                                          By: Michael Dixson, President




        PROPOSED ATTORNEYS FOR DEBTOR

        Jeff Carruth, SBT #24001846
        WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
        3030 Matlock Rd., Suite 201
        Arlington, TX 76015
        Phone: (713) 341-1158
        Fax: (866) 666-5322
        jcarruth@wkpz.com




        1931022.DOCX
                                                                                                1931158.PDF
23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                    Pg 2 of 24



                 Preliminary Statement, Disclaimer, and Reservation of Rights
                   Regarding Schedules and Statement of Financial Affairs

 The information contained in the following Debtor’s schedules and related statements,
 disclosures, and lists in this Bankruptcy Case (collectively, the “Schedules”) represents the
 information the Debtor has developed to date through its investigation of the assets, liabilities,
 and affairs of the Debtor and the estate. The Debtor’s continuing review of its pre-petition books
 and records could yield additional information that would change or expand the information
 contained in the Schedules. Furthermore, while every effort has been made to file complete and
 accurate Schedules, inadvertent errors or omissions may exist. ACCORDINGLY, THE
 DEBTOR RESERVES THE RIGHT TO AMEND THE SCHEDULES. THE DEBTOR
 DOES NOT WAIVE ANY ISSUE OF FACT, REMEDY, CLAIM, OR DEFENSE
 PERTAINING TO ANY MATTER ADDRESSED HEREIN.

 Any failure to designate a claim on the Schedules as “contingent,” “unliquidated,” or “disputed”
 does not constitute an admission on the part of the Debtor that such claim is not “contingent,”
 “unliquidated,” or “disputed.” Likewise, the lack of notation of a setoff on Schedule F in the
 checkbox does not limit the Debtor from asserting a right of setoff and/or amended these
 schedules accordingly. The Debtor reserves the right to dispute, or assert offsets or defenses to,
 any claim reflected in the Schedules as to amount, liability, or classification, or otherwise
 subsequently designate any claims to be “contingent,” “unliquidated,” and/or “disputed.”

 All amounts listed are subject to update and verification.



                                       GENERAL NOTES

 Schedule D:              City Bank contends that City Bank is under-secured. Debtor reserves
                          the right to amend regarding valuation. City Bank is marked as
                          “disputed” regarding the valuation and Code §506(b) and related
                          questions.
 Schedule D:              Property taxes omitted from Schedule D. Taxes for 2020 were paid by
                          the Debtor pre-petition. Taxes for 2021 were not yet due as of the
                          petition date.
 Schedule D:              The value earned by the broker as of the petition date is substantially
                          less than the face amount of the liens.
 Schedule G:              Debtor intends to assume and perform all ground leases.
 Schedule F:              HD Lending is the first lien holder with respect to The Gateway
                          Ventures LLC (“TGV”) and is believed to be fully secured with respect
                          to that case and property. Debtor is a potential guarantor of the HD
                          Lending facility as to TGV, however, the claim is listed as $0.00 due to
                          the value of the lien position in TGV.




 1931022.DOCX
                                                                                        1931158.PDF
23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                    Pg 3 of 24



                              ADDENDUM — SOFA 25




 1931022.DOCX
                                                                         1931158.PDF
         23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                             Pg 4 of 24                                   3/11/21 10:23PM




 Fill in this information to identify the case:

 Debtor name         PDG Prestige, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         21-30107
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 11, 2021                          X /s/ Michael Dixson
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael Dixson
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy




                                                                                                                                     1931158.PDF
              23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                                  Pg 5 of 24                                   3/11/21 10:23PM




 Fill in this information to identify the case:
 Debtor name PDG Prestige, Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS                                                                                Check if this is an

 Case number (if known):                21-30107                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 -NONE-




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy



                                                                                                                                                          1931158.PDF
           23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                               Pg 6 of 24                                   3/11/21 10:23PM


 Fill in this information to identify the case:

 Debtor name            PDG Prestige, Inc.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF TEXAS

 Case number (if known)               21-30107
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $        4,700,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $            42,640.39

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        4,742,640.39


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        2,948,240.70


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          2,948,240.70




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
                                                                                                                                                                                         1931158.PDF
           23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                               Pg 7 of 24                                   3/11/21 10:23PM


 Fill in this information to identify the case:

 Debtor name          PDG Prestige, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         21-30107
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Chase (balance as of March 11, 2021)                   Checking                                                               $42,640.39



                     CityBank (balance as of March 11,
            3.2.     2021)                                                                                                                                  $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                    $42,640.39
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                                                                                                                                         1931158.PDF
           23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                               Pg 8 of 24                                   3/11/21 10:23PM



 Debtor         PDG Prestige, Inc.                                                                 Case number (If known) 21-30107
                Name


            11b. Over 90 days old:                                    0.00    -                                  0.00 =....                       Unknown
                                              face amount                            doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                                       $0.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No. Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No. Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and              Net book value of         Valuation method used    Current value of
            property                                      extent of               debtor's interest         for current value        debtor's interest
            Include street address or other               debtor's interest       (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                                                                                                                                      1931158.PDF
         23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                             Pg 9 of 24                                   3/11/21 10:23PM



 Debtor         PDG Prestige, Inc.                                                           Case number (If known) 21-30107
                Name

            55.1.    510 and 550 S
                     Telshor, Las Cruces.
                     Referred to by parties
                     often as Lot 1A and
                     Lot 3A. See
                     addendum for
                     property description.
                     Stabilized value
                     greater than $4.7MM.                                              Unknown         N/A                          $4,700,000.00


            55.2.    Various ground
                     leases real property
                     Lot 1A, Lot 3A.                                                   Unknown                                           Unknown




 56.        Total of Part 9.                                                                                                      $4,700,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                                                                                                                               1931158.PDF
         23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                             Pg 10 of 24                                  3/11/21 10:23PM



 Debtor          PDG Prestige, Inc.                                                                                  Case number (If known) 21-30107
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $42,640.39

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $4,700,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $42,640.39          + 91b.            $4,700,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $4,742,640.39




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
                                                                                                                                                            1931158.PDF
          23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                              Pg 11 of 24                                  3/11/21 10:23PM


 Fill in this information to identify the case:

 Debtor name          PDG Prestige, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)              21-30107
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    CityBank                                      Describe debtor's property that is subject to a lien              $2,705,661.10            $4,700,000.00
        Creditor's Name                               510 and 550 S Telshor, Las Cruces. Referred
        c/o Brad O'Dell                               to by parties often as Lot 1A and Lot 3A. See
        Mullin Hoard Brown                            addendum for property description.
        1500 Broadway St #700                         Stabilized value greater than $4.7MM.
        Lubbock, TX 79401
        Creditor's mailing address                    Describe the lien
                                                      Mortgage / deed of trust.
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.
                                                       Disputed
        1. CityBank
        2. New Mexico Real Estate
        Advisors Inc d/b/

        New Mexico Real Estate
 2.2                                                                                                                      $242,579.60            $4,700,000.00
        Advisors Inc d/b/                             Describe debtor's property that is subject to a lien
        Creditor's Name                               510 and 550 S Telshor, Las Cruces. Referred
        5051 Journal Center                           to by parties often as Lot 1A and Lot 3A. See
        Boulevard NE                                  addendum for property description.
        Suite 200                                     Stabilized value greater than $4.7MM.
        Albuquerque, NM 87109
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)

Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                                                                                                                                              1931158.PDF
         23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                             Pg 12 of 24                                  3/11/21 10:23PM


 Debtor       PDG Prestige, Inc.                                                                      Case number (if known)       21-30107
              Name

       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                       Disputed
       Specified on line 2.1

                                                                                                                               $2,948,240.7
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          0

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                                                                                                                                              1931158.PDF
          23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                              Pg 13 of 24                                  3/11/21 10:23PM


 Fill in this information to identify the case:

 Debtor name         PDG Prestige, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)          21-30107
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                           $0.00
           Dennis Crimmins et al.
           c/o Casey S. Stevenson                                             Contingent
           Scott Hulse                                                        Unliquidated
           201 East Main Drive #1100                                          Disputed
           El Paso, TX 79901
                                                                             Basis for the claim: Lis pendens claim against property.
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?  No       Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                           $0.00
           HD Lending LLC                                                     Contingent
           c/o Clyde Pine, Esq
           Mounce, Green, Myers, Safi, Paxson & Gal
                                                                              Unliquidated
           P.O. Drawer 1977                                                   Disputed
           El Paso, TX 79950-1977                                            Basis for the claim: Guaranty of The Gateway Ventures LLC. Claim is
           Date(s) debt was incurred                                         disputed related to value of first lien in TGV.
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                           $0.00
           Internal Revenue Service                                           Contingent
           Special Procedures Staff - Insolvency                              Unliquidated
           P. O. Box 7346                                                     Disputed
           Philadelphia, PA 19101-7346
                                                                             Basis for the claim: notice only.
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                         35876                                               Best Case Bankruptcy
                                                                                                                                                        1931158.PDF
         23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                             Pg 14 of 24                                  3/11/21 10:23PM


 Debtor       PDG Prestige, Inc.                                                                      Case number (if known)            21-30107
              Name

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           Springer Management                                                Contingent
           c/o Tom Springer
           500 S. Telshor Blvd.
                                                                              Unliquidated
           Las Cruces, TX 88011                                               Disputed
           Date(s) debt was incurred                                         Basis for the claim: Cause No. D-307-CV-2020-01638; Springer
           Last 4 digits of account number                                   Management of Las Cruces, LLC v. PDG Prestige, Inc., and Michael
                                                                             Dixson - spefific performance of easement
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                              0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                              0.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                                0.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
                                                                                                                                                    1931158.PDF
          23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                              Pg 15 of 24                                  3/11/21 10:23PM


 Fill in this information to identify the case:

 Debtor name         PDG Prestige, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         21-30107
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or                  Construction Contract
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                      Gallardo
              List the contract number of any                                         2701 W Picacho Ave, Ste 6
                    government contract                                               Las Cruces, NM 88007


 2.2.         State what the contract or
              lease is for and the nature of
              the debtor's interest

                  State the term remaining

              List the contract number of any                                         Various ground leases.
                    government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                                                                                                                                    1931158.PDF
          23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                              Pg 16 of 24                                  3/11/21 10:23PM


 Fill in this information to identify the case:

 Debtor name         PDG Prestige, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         21-30107
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      PDG Inc.                          780 N. Resler Drive Suite B                      CityBank                        D
                                               El Paso, TX 79912                                                                 E/F
                                               PDG Inc. (NM corp.) is borrower. Debtor                                          G
                                               owns collateral.




Official Form 206H                                                      Schedule H: Your Codebtors                                           Page 1 of 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
                                                                                                                                1931158.PDF
         23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                             Pg 17 of 24                                  3/11/21 10:23PM




 Fill in this information to identify the case:

 Debtor name         PDG Prestige, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         21-30107
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                                                                                                                                            1931158.PDF
         23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                             Pg 18 of 24                                  3/11/21 10:23PM

 Debtor       PDG Prestige, Inc.                                                                            Case number (if known) 21-30107



       None
       Creditor's name and address                               Describe of the Property                                      Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case               Court or agency's name and              Status of case
               Case number                                                                    address
       7.1.    Springer Management of Las                                                     3rd Judicial District Court -            Pending
               Cruces, LLC v. PDG Prestige,                                                   New Mexico                               On appeal
               Inc. and Michael Dixson                                                        201 W Picacho Ave                        Concluded
               D-307-CV-202001638                                                             Las Cruces, NM 88005

       7.2.    Dennis Crimmins v. Michael                        Alleged fraudulent           3rd Judicial District Court -            Pending
               J. Dixson, PDG Inc., PDG                          transfer                     New Mexico                               On appeal
               Prestige Inc.                                                                  201 W Picacho Ave
                                                                                                                                       Concluded
               D-307-CV-202001698                                                             Las Cruces, NM 88005


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions                Dates given                             Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss             Value of property
       how the loss occurred                                                                                                                                     lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                                                                                                                                                 1931158.PDF
          23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                              Pg 19 of 24                                  3/11/21 10:23PM

 Debtor      PDG Prestige, Inc.                                                                          Case number (if known) 21-30107



 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.1 See #30 re The Gateway
       .    Ventures LLC
                                                                                                                                                              $0.00

               Relationship to debtor




 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                                                                                                                                             1931158.PDF
          23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                              Pg 20 of 24                                  3/11/21 10:23PM

 Debtor      PDG Prestige, Inc.                                                                         Case number (if known) 21-30107




16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was           Last balance
                Address                                          account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                                                                                                                                          1931158.PDF
          23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                              Pg 21 of 24                                  3/11/21 10:23PM

 Debtor      PDG Prestige, Inc.                                                                         Case number (if known) 21-30107



      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                                                                      EIN:
             See Attached Addendum
                                                                                                               From-To


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Joe Klamt                                                                                                                  1/1/20-current
                    780 N Risler
                    Suite B
                    El Paso, TX 79912
       26a.2.       Butterworth Macias P.C.                                                                                                    5/1/19-12/31/19
                    600 Sunland Park Dr.
                    Suite 2-300
                    El Paso, TX 79912

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                                                                                                                                                 1931158.PDF
          23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                              Pg 22 of 24                                  3/11/21 10:23PM

 Debtor      PDG Prestige, Inc.                                                                         Case number (if known) 21-30107



           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       PDG Prestige Inc.
                    780 N Resler Drive, Suite B
                    El Paso, TX 79912

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.  City Bank



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michael Dixson                                 780 N. Resler Drive Suite B                         President, Director                   100%
                                                      El Paso, TX 79912



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                                                                                                                                           1931158.PDF
          23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                              Pg 23 of 24                                  3/11/21 10:23PM

 Debtor      PDG Prestige, Inc.                                                                         Case number (if known) 21-30107



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 The Gateway Ventures LLC
       .    780 N. Resler Drive Suite B
               El Paso, TX 79912                                 Approximately $1,200,000                                2020              Operations

               Relationship to debtor
               Subsidiary


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 11, 2021

 /s/ Michael Dixson                                                     Michael Dixson
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                                                                                                                                           1931158.PDF
         23-03004-cgb Doc#139-4 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 4. Schedules
                                             Pg 24 of 24                                  3/11/21 10:23PM



                                                               United States Bankruptcy Court
                                                                       Western District of Texas
 In re      PDG Prestige, Inc.                                                                                        Case No.       21-30107
                                                                                    Debtor(s)                         Chapter        11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Michael Dixson                                                                       100%
 780 N. Resler Drive Suite B
 El Paso, TX 79912


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date March 11, 2021                                                         Signature /s/ Michael Dixson
                                                                                            Michael Dixson

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy


                                                                                                                                               1931158.PDF
